         Case 3:18-cv-04571-JD         Document 219       Filed 06/02/21     Page 1 of 2



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     Attorneys for Defendants LSI CORPORATION
13   and AVAGO TECHNOLOGIES U.S. INC.

14                                UNITED STATES DISTRICT COURT

15                               NORTHERN DISTRICT OF CALIFORNIA

16                                     SAN FRANCISCO DIVISION

17   CARNEGIE MELLON UNIVERSITY,                          )       Case No. 3:18-cv-04571-JD
                                                          )
18                                 Plaintiff,             )
                                                          )
19                  vs.                                   )
                                                          )
20   LSI CORPORATION AND AVAGO                            )
     TECHNOLOGIES U.S. INC.,
21                                                        )
                                   Defendants.            )
22                                                        )

23                NOTICE OF APPEARANCE OF KIRK D. DILLMAN AS COUNSEL
                 FOR LSI CORPORATION AND AVAGO TECHNOLOGIES U.S. INC.
24

25          PLEASE TAKE NOTICE THAT Kirk D. Dillman is entering an appearance for Defendants
26   LSI Corporation and Avago Technologies Inc. in this action and requests that all pleadings, notices,
27

28

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     Case No. 3:18-cv-04571-JD                                NOTICE OF APPEARANCE OF KIRK D. DILLMAN
         Case 3:18-cv-04571-JD        Document 219       Filed 06/02/21       Page 2 of 2



1    orders, correspondence, and other papers in connection with this action be served upon him as

2    follows:

3                                    Kirk D. Dillman (SBN 110486)
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     DATED: June 2, 2021                            Respectfully submitted,
7
                                                    By: /s/ KIRK D. DILLMAN
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                                                    ATTORNEYS FOR LSI CORPORATION AND
20
                                                    AVAGO TECHNOLOGIES U.S. INC.
21
                                      CERTIFICATE OF SERVICE
22
            The undersigned certifies that the foregoing document was filed electronically in compliance
23
     with Local Rule CV-5(a) on June 2, 2021. As such, this document was served on all counsel who
24
     are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A).
25

26
                                                    /s/ KIRK D. DILLMAN
27                                                  Kirk D. Dillman

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     Case No. 3:18-cv-04571-JD                            NOTICE OF APPEARANCE OF KIRK D. DILLMAN
